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United States District Court
Southern District of New York                                        7:19-cv-11224

Constance Fore-Heron, individually and on
behalf of all others similarly situated,
                                     Plaintiff,

                       - against -                              Class Action Complaint

The Price Chopper, Inc.,
                                     Defendant

           Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


           1.      The Price Chopper, Inc. (“defendant”) manufactures, distributes, markets, labels and

sells almondmilk beverages purporting to be characterized by and containing flavor only from

vanilla under their brand (“Products”).

           2.      The Products are available to consumers from defendant's retail stores and are sold

in sizes including cartons of .5 gallon (64 FL OZ).

           3.      The Product’s front label and advertising makes direct representations with respect

to its primary recognizable and characterizing flavor by the word Vanilla. 1   0F




1
    21 C.F.R. § 101.22(i).


                                                     1
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      4.      The back panel includes the Nutrition Facts and ingredient list.




I. Increase in Consumption of Non-Dairy, Plant-Based Milks



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        5.      The past decade has seen a proliferation of plant-based or non-dairy “milks” made

from various agricultural commodities.

        6.      The two most popular types of “plant milk” are made from soybeans and almonds.

        7.      Reasons for choosing soymilk include tree nut allergies, creamier consistency, a

natural source of soy protein and more B vitamins, magnesium and potassium. 2          2F




        8.      Reasons for choosing almondmilk include soy allergies, sweeter taste, similar

consistency to skim and low-fat milk, nutty flavor and higher levels of vitamin E.

        9.      Recent studies indicate that of the 7.2 million U.S. adults with food allergies, 3

million are allergic to tree nuts (including almonds) while 1.5 million are allergic to soy. 3    3F




        10.     Whether due to few people being allergic to both soy and almonds or their different

qualities, consumers seldom switch between the two.

        11.     These plant-based beverages are often mixed with a flavoring like vanilla or

chocolate to increase palatability and are either sweetened or unsweetened.


II.     Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand

        12.     The tropical orchid of the genus Vanilla (V. planifolia) is the source of the prized

flavor commonly known as vanilla, defined by law as “the total sapid and odorous principles

extractable from one-unit weight of vanilla beans.” 4    4F




        13.     Vanilla’s “desirable flavor attributes…make it one of the most common ingredients

used in the global marketplace, whether as a primary flavor, as a component of another flavor, or

for its desirable aroma qualities.” 55F




2
   Yahoo Food, Almond Milk Vs. Soy Milk: Which Is Better?, September 5, 2014.
3
  Ruchi Gupta et al., "Prevalence and severity of food allergies among US adults," JAMA network open 2, no. 1
(2019): e185630-e185630.
4
  21 C.F.R. §169.3(c).
5
  Daphna Havkin-Frenkel, F.C. Bellanger, Eds., Handbook of Vanilla Science and Technology, Wiley, 2018.


                                                     3
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        14.     Though the Pure Food and Drugs Act of 1906 (“Pure Food Act”) was enacted to

“protect consumer health and prevent commercial fraud,” this was but one episode in the perpetual

struggle against those who have sought profit through sale of imitation and lower quality

commodities, dressed up as the genuine articles. 6       6F




        15.     It was evident that protecting consumers from fraudulent vanilla would be

challenging, as E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department of

Agriculture’s Bureau of Chemistry, noted “There is at least three times as much vanilla consumed

[in the United States] as all other flavors together.” 7      7F




        16.     This demand could not be met by natural sources of vanilla, leading manufacturers

to devise clever, deceptive and dangerous methods to imitate vanilla’s flavor and appearance.

        17.     Today, headlines tell of a resurgent global threat of “food fraud” – from olive oil

made from cottonseeds to the horsemeat scandal in the European Union. 8               8F




        18.     Though “food fraud” has no agreed-upon definition, its typologies encompass an

ever-expanding, often overlapping range of techniques with one common goal: giving consumers

less than what they bargained for.


    A. Food Fraud as Applied to Vanilla

        19.     Vanilla is a “high-risk [for food fraud product] because of the multiple market impact

factors such as natural disasters in the source regions, unstable production, wide variability of



6
  Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.
7
  E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
8
  Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.


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quality and value of vanilla flavorings,” second only to saffron in price. 9       9F




         20.    The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities in today’s interconnected world. 10               10 F




         Type of Food Fraud                                    Application to Vanilla

    ➢ Addition of markers
                                        •    Manipulation of the carbon isotope ratios to produce
       specifically tested for
                                             synthetic vanillin with similar carbon isotope composition
       instead of natural
                                             to natural vanilla
       component of vanilla beans

                                        •    Ground vanilla beans and/or seeds to provide visual appeal
                                             as “specks” so consumer thinks the product contains real
                                             vanilla beans, when the ground beans have been exhausted
    ➢ Appearance of more and/or              of flavor
       higher quality of the valued •        Caramel to darken the color of an imitation vanilla so it
       ingredient                            more closely resembles the hue of real vanilla 11    1F




                                        •    Annatto and turmeric extracts in dairy products purporting
                                             to be flavored with vanilla, which causes the color to better
                                             resemble the hue of rich, yellow butter

                                        •    Tonka beans, though similar in appearance to vanilla
    ➢ Substitution and
                                             beans, are banned from entry to the United States due to
       replacement of a high
                                             fraudulent use
       quality ingredient with
                                        •    Coumarin, a toxic phytochemical found in Tonka beans,
       alternate ingredient of
                                             added to imitation vanillas to increase vanilla flavor
       lower quality
                                             perception

    ➢ Addition of less expensive        •    Synthetically produced ethyl vanillin, derived from



9
   Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
10
   Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.
11
   Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.


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     substitute ingredient to                 recycled paper, tree bark or coal tar, to imitate taste of real
     mimic flavor of more                     vanilla
     valuable component

                                          •   “to mix flavor materials together at a special ratio in which
                                              they [sic] compliment each other to give the desirable
                                              aroma and taste” 12 12F




                                          •   Combination with flavoring substances such as propenyl

 ➢ Compounding, Diluting,                     guaethol (“Vanitrope”), a “flavoring agent [, also]

     Extending                                unconnected to vanilla beans or vanillin, but unmistakably
                                              producing the sensation of vanilla” 13    13F




                                          •   “Spiking” or “fortification” of vanilla through addition of
                                              natural and artificial flavors including vanillin, which
                                              simulates vanilla taste but obtained from tree bark

                                          •   Injection of vanilla beans with mercury, a poisonous
 ➢ Addition of fillers to give                substance, to raise the weight of vanilla beans, alleged in
     the impression there is                  International Flavors and Fragrances (IFF), Inc. v. Day
     more of the product than                 Pitney LLP and Robert G. Rose, 2005, Docket Number L-
     there actually is                        4486-09, Superior Court of New Jersey, Middlesex
                                              County.

                                          •   Subtle, yet deliberate misidentification and obfuscation of
                                              a product’s components and qualities as they appear on the
                                              ingredient list
 ➢ Ingredient List Deception 14     14F        o “ground vanilla beans” gives impression it describes
                                                  unexhausted vanilla beans when actually it is devoid
                                                  of flavor and used for aesthetics
                                               o “natural vanilla flavorings” – “-ing” as suffix referring


12
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.
13
   Berenstein, 423.
14
   Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar.


                                                         6
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                                                to something like that which is described
                                            o “Vanilla With Other Natural Flavors” – implying –
                                                wrongly – such a product has a sufficient amount of
                                                vanilla to characterize the food; often containing high
                                                amount of vanillin, which must be disclosed as an
                                                artificial flavor when paired with vanilla
                                            o “Flavor Splitting” – separating the components of a
                                                “Vanilla WONF” ingredient – vanilla extract or
                                                flavoring and “(other) natural flavor” – which gives
                                                the appearance the higher quality vanilla ingredient is
                                                used by the manufacturer when it is actually a
                                                component of a flavor blend


     B. The Use of Vanillin to Simulate Vanilla

        21.    The most persistent challenger to the authenticity of real vanilla has been synthetic

versions of its main flavor component, vanillin.

        22.    First synthesized from non-vanilla sources by German chemists in the mid-1800s,

vanillin was the equivalent of steroids for vanilla flavor.

        23.    According to Skip Rosskam, a professor of vanilla at Penn State University and

former head of the David Michael flavor house in Philadelphia, “one ounce of vanillin is equal to

a full gallon of single-fold vanilla extract.” 15
                                                15F




        24.    Today, only 1-2% of vanillin in commercial use is vanillin obtained from the vanilla

plant, which means that almost all vanillin has no connection to the vanilla bean.

        25.    Nevertheless, disclosure of this powerful ingredient has always been required where

a product purports to be flavored with vanilla. See Kansas State Board of Health, Bulletin, Vol. 7,



15
  Katy Severson, Imitation vs. Real Vanilla: Scientists Explain How Baking Affects Flavor, Huffington Post, May
21, 2019.


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1911, p. 168 (cautioning consumers that flavor combinations such as “vanilla and vanillin…vanilla

flavor compound,” etc., are not “vanilla [extract] no matter what claims, explanations or formulas

are given on the label.”).


       C. “Natural Vanillins” are Produced in a Non-Natural Manner

           26.    The past ten years have seen the introduction of vanillin ingredients that purport to

be a “natural flavor,” based on the raw material being a natural source and undergoing a natural

production process.

           27.    However, the starting material, eugenol, is subjected to high heat and high pressure

in conversion to vanillin, which is actually considered by the FDA to be a synthetic method.

           28.    These low-cost “natural vanillins” are produced by the ton in China, with little

transparency or verification, before being delivered to the flavor companies for blending.


       D. “Vanilla WONF” to Imitate Real Vanilla

           29.    The global shortage of vanilla beans has forced the flavor industry to “innovate[ing]

natural vanilla solutions…to protect our existing customers.” 16        16F




           30.    These “customers” do not include the impoverished vanilla farmers who are at the

mercy of global conglomerates nor consumers, who are sold products labeled as “vanilla” for the

same or higher prices than when those products contained only vanilla.

           31.    The flavor industry has reacted to the high vanilla prices with programs like the

“Sustainable Vanilla Initiative” (“SVI”) and “Rainforest Alliance Certified.”

           32.    However, whispered reports among the vanilla farmers of Madagascar have been

circulating that contrary to seeking “sustainability” of vanilla, the food and flavor conglomerates



16
     Amanda Del Buouno, Ingredient Spotlight, Beverage Industry, Oct. 3, 2016.


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are actually working in the opposite direction.

        33.     This entails paying vanilla growers to destroy their crops instead of taking the cured

beans to market under the guise of “diversifying” their crops to produce palm oil among other

already plentiful commodities.

        34.     Fewer vanilla beans means higher prices, which benefit the flavor industry because

products like vanilla extract have low margins – there is no advanced synthetic biology or

proprietary formula for this basic, yet multipurpose ingredient.

        35.     While this conclusion is not admitted, it is apparent from comments of industry

executives.

        36.     According to Suzanne Johnson, vice president or research at a North Carolina

laboratory, “Many companies are trying to switch to natural vanilla with other natural flavors

[WONF] in order to keep a high-quality taste at a lower price.”

        37.     The head of “taste solutions” at Irish conglomerate Kerry urged flavor manufacturers

to “[G]et creative” and “build a compounded vanilla flavor with other natural flavors.”

        38.     These compounded flavors typically exist in a “black box” and “consist of as many

as 100 or more flavor ingredients,” including maltol, piperonal and even “natural vanillin,”

blended together in a special ratio to complement and enhance the real vanilla component. 17                17F




        39.     A compounded vanilla flavor “that matches the taste of pure vanilla natural extracts”

can supposedly “provide the same vanilla taste expectation while requiring a smaller quantity of

vanilla beans. The result is a greater consistency in pricing, availability and quality.” 18         18F




17
   Hallagan and Drake, FEMA GRAS and U.S. Regulatory Authority: U.S. Flavor and Food Labeling Implications,
Perfumer & Flavorist, Oct. 25, 2018; Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley,
1985, p. 611 (describing the flavor industry’s goal to develop vanilla compound flavors “That Seem[s] to be Authentic
or at Least Derived from a Natural Source”) (emphasis added).
18
   Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.


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       40.   That high level executives in the flavor industry are willing to openly boast of their

stratagems to give consumers less vanilla for the same price is not unexpected.

       41.   This is due in part to the once influential and respected trade group for the flavor

industry, The Flavor and Extract Manufacturers Association (“FEMA”), abandoning its “self-

policing” of misleading vanilla labeling claims and disbanding its Vanilla Committee.

       42.   Though FEMA previously opposed efforts of industry to deceive consumers, over

the past twenty (20) years it has cast the general public to the curb in pursuit of membership dues

from its largest members.


III. The Unqualified Representations as “Vanilla” are Misleading


       43.   The front label (1) represents the Product’s characterizing flavor is vanilla and (2)

lacks any qualifying terms, confirming to consumers they contain a sufficient amount of vanilla

(flavoring or extract) to independently flavor the Products.


   A. Product’s Ingredient Lists Reveal Non-Vanilla Flavors

       44.   The unqualified, prominent and conspicuous representation as “Vanilla” is false,

deceptive and misleading because the Product contains flavoring other than vanilla, as revealed by

“Natural Vanilla Flavor With Other Natural Flavors” on the ingredient list.




                INGREDIENTS:          ALMONDMILK               (FILTERED   WATER,



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                    ALMONDS), CALCIUM CARBONATE, NATURAL VANILLA
                    FLAVOR WITH OTHER NATURAL FLAVORS, SEA SALT,
                    POTASSIUM CITRATE, SUNFLOWER LECITHIN, GELLAN
                    GUM,   VITAMIN  A    PALMITATE, VITAMIN    D2,
                    D-ALPHA-TOCOPHEROL (NATURAL VITAMIN E).


     B. Flavoring Ingredients are Typically Combined Prior to Delivery to Manufacturer

         45.    When companies use vanilla and non-vanilla flavors in a product, they are typically

purchased in one package or container.

         46.    Reasons for doing this include: (1) having to manage fewer suppliers, (2) ensuring

the vanilla and non-vanilla flavors complement each other, (3) the non-vanilla flavors are intended

to resemble, simulate and enhance the vanilla flavor, (4) consistency within product batches the

flavor is added to, (5) volatile nature of flavoring constituents, (6) the ability to make misleading

representations with respect to a product’s flavor and ingredients and (7) ease of use.

         47.    When a food manufacturer receives a flavor component from a flavor supplier that

consists of two or more natural flavor ingredients, it can be labeled by declaring each ingredient

by its common or usual name such as “strawberry flavor, banana flavor.” 19                 19F




         48.    Flavorings are not subject to the provisions which allow for the components of an

ingredient to be incorporated into the statement of ingredients in order of predominance by weight,

such that when “strawberry flavor, banana flavor” is added to a fabricated food, it will be

designated as “natural flavor.” 20   20F




         49.    “Natural flavor” refers to “the essential oil, oleoresin, essence or extractive…which

contains the flavoring constituents” from a natural source such as plant material and can refer to



19
   21 C.F.R. § 101.22(g)(2).
20
   See 21 C.F.R. § 101.4(b)(1) (“Spices, flavorings, colorings and chemical preservatives shall be declared according
to the provisions of 101.22.”) with 21 C.F.R. § 101.22(h)(1) (“The label of a food to which flavor is added shall declare
the flavor in the statement of ingredients in the following way: (1) Spice, natural flavor, and artificial flavor may be
declared as "spice", "natural flavor", or "artificial flavor", or any combination thereof, as the case may be.”)


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combinations of natural flavors. See 21 C.F.R. § 101.22(a)(3).


IV.      Products Labeled as “Vanilla” Which Contain Vanilla With Other Natural Flavor

         50.    The ingredient most commonly used to provide flavors from vanilla and non-vanilla

natural sources is known as “Vanilla With Other Natural Flavors” or “Vanilla WONF.” 21                   2F




         51.    On ingredient lists, this ingredient is often declared inconsistently and in a

misleading way: “Natural Vanilla Flavor with Other Natural Flavor,” “Natural Vanilla Flavor,

Natural Flavor,” “Vanilla Extract, Natural Flavor” “Natural Flavor, [INTERVENING

INGREDIENTS] Vanilla Extract,” instead of the required “Natural Flavor.”

         52.    Provided a product makes representations as to a characterizing flavor, the type,

composition and amount of the flavor(s) used effect how the front label of a product should be

designated. See 21 C.F.R. § 101.22(i).

         53.    21 C.F.R. § 101.22(i)(1) sets out the requirements for non-misleading flavor

designations based on factors including (1) the presence of “natural flavor” and/or “artificial flavor

which simulates, resembles or reinforces the characterizing flavor,” (2) the presence of artificial

flavor which does not simulate the characterizing flavor, (3) whether the natural flavor is obtained

from the food ingredient represented as the characterizing flavor – i.e., does the peach flavor come

from real peaches or is it synthesized from apricots? and (4) the relative amounts of the different

flavor types. See 21 C.F.R. § 101.22(i)(1), 21 C.F.R. § 101.22(i)(2).

         54.    The source of flavoring in a food and whether there is a material fact which

consumers base their purchasing decisions on.


V.       Why Unqualified “Vanilla” on Front Label is Misleading When Ingredient List Declares
21
  21 C.F.R. § 101.22(i)(1)(iii); 21 C.F.R. § 101.22(i)(1)(i) (“If the food is one that is commonly expected to contain
a characterizing food ingredient, e.g., strawberries in "strawberry shortcake", and the food contains natural flavor
derived from such ingredient and an amount of characterizing ingredient insufficient to independently characterize the
food”).


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       “Natural Vanilla Flavor With Other Natural Flavor”

       55.    The front label “Vanilla” gives the impression that all of the flavor (taste sensation

and ingredient imparting same) in the Product is contributed from vanilla beans. See 21 C.F.R. §

169.3(c) (“The term unit of vanilla constituent means the total sapid and odorous principles

extractable from one unit weight of vanilla beans”).

       56.    The front label impression is contradicted by the ingredient list which contains

“Natural Vanilla Flavor With Other Natural Flavor” (“Vanilla WONF”).

       57.    This is because “WONF” flavors are intended to be used where the amount of the

named flavor is insufficient to exclusively characterize the food. See 21 C.F.R. § 101.22(i)(1)(iii)

(where a “food contains both a characterizing flavor from the product whose flavor is simulated

and other natural flavor which simulates, resembles or reinforces the characterizing flavor, the

food shall be labeled in accordance with the introductory text and paragraph (i)(1)(i) of this section

and the name of the food shall be immediately followed by the words ‘with other natural flavor’”).

       58.    “[P]aragraph (i)(1)(i)” refers to the requirement that the name of the characterizing

flavor be followed by the word “flavored” where a food contains an “amount of characterizing

ingredient insufficient to independently characterize the food.” See 21 C.F.R. § 101.22(i)(1)(i).

       59.    Taken together, where a product contains some vanilla, but not enough to

independently characterize the food, and “other natural flavor which simulates, resembles or

reinforces the characterizing [vanilla] flavor,” a non-misleading description could be “Natural

Vanilla Flavored Almondmilk With Other Natural Flavors” or “Vanilla Flavored Almondmilk

With Other Natural Flavors.” See 21 C.F.R. § 101.22(i)(1)(iii).

       60.    The absence of the term “flavored” following “Vanilla” on the front label gives

consumers the impression that the flavor of the food is contributed mainly from its characterizing

food ingredient.


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       61.    Though a food labeled “vanilla flavored almondmilk” contains real vanilla, the

“flavored” term discloses to consumers that such a food (1) contains non-vanilla flavors and (2)

does not contain a sufficient amount of vanilla to independently characterize the food.


   A. “Vanilla Flavored With Other Natural Flavor” by Itself Would be Misleading

       62.    Even if the front label stated “Vanilla Flavored Almondmilk With Other Natural

Flavor” or contained a statement beneath “Almondmilk” such as “Vanilla Flavor With Other

Natural Flavor,” it would still be misleading.

       63.    The vanilla standards do not permit adding non-vanilla, “other natural flavors” to an

exclusively vanilla flavor, making it misleading for a product to be labeled on the front as “Vanilla”

but only identify the “other natural flavor” in small print on the ingredient list.

       64.    Since the exclusively vanilla ingredients are standardized, high-value foods, the term

“vanilla” implies the Product contains a full strength vanilla flavoring or vanilla extract, when it

actually contains a combination of vanilla and non-vanilla flavors, any name should be

accompanied by a statement disclosing the flavoring strength contributed by vanilla and non-

vanilla flavors. See Exhibit “A,” FDA Letter, Quinn to Molina, 1980 (“in order to distinguish this

product from other similar products the general principles of 21 CFR 102.5 should apply. Thus,

the name should be accompanied by ‘contains 50% vanilla extract and 50% non-vanilla flavors.’”).


   B. The Presence of Added Vanillin Would Implicate Front Label Designation of Products

       65.    The requirements for accurate, non-misleading flavor designation at 21 C.F.R. §

101.22(i)(1)(i)-(iii) are based on the absence of any “artificial flavor which simulates, resembles

or reinforces the characterizing flavor.” See 21 C.F.R. § 101.22(i)(1).

       66.    In the context of vanilla, vanillin has always been an “artificial flavor” regardless of

whether it meets the definition of “natural flavor.” See 21 C.F.R. § 101.22(a)(3).


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         67.   The labeling for added vanillin is controlled by the vanilla standards as opposed to

the general flavoring regulations, wherever there is a conflict between them.

         68.   The vanilla regulations require that wherever real vanilla is used together with

vanillin, it is required to be designated on the ingredient list and “followed immediately by the

statement ‘contains vanillin, an artificial flavor (or flavoring).’” See Vanilla-vanillin extract at 21

C.F.R. §§ 169.180(b).22

         69.   These requirements were established to prevent consumers from being misled by

products which “spike” a miniscule amount of real vanilla with vanillin.

         70.   The front label of a product with added vanillin is required to disclose this material

fact by the designation “Artificially Flavored Vanilla Almondmilk.” See 21 C.F.R. § 101.22(i)(2)

(“If the food contains any artificial flavor which simulates, resembles or reinforces the

characterizing flavor, the name of the food on the principal display panel…shall be accompanied

by the word(s) ‘artificial’ or ‘artificially flavored’”).


VI.      Vanilla Almondmilk Products are Misleading Because They are Labeled and Named
         Similar to Other Products

         71.   Competitor brands to defendant’s Products are labeled as or containing vanilla , and

are not misleading because they only contain flavoring derived from vanilla.


      A. Vanilla Almondmilk Product of Competitor and Defendant

         72.   The following is an example of a Vanilla Bean Ice Cream Product of defendant and

a competitor product.




22
  See also 21 C.F.R. § 169.181(b), § 169.182(b) (similar declarations required for Vanilla-vanillin flavoring and
Vanilla-vanillin powder).


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            Competitor Product                                Product




INGREDIENTS: Organic Almond Base                 INGREDIENTS:         ALMONDMILK
(Filtered Water, Organic Almonds), Organic       (FILTERED    WATER,    ALMONDS),
Vanilla Flavor, Sea Salt, Sunflower Lecithin,    CALCIUM   CARBONATE,     NATURAL
Organic Locust Bean Gum, Gellan Gum,             VANILLA   FLAVOR    WITH   OTHER
Vitamin A Palmitate, Ergocalciferol (Vitamin     NATURAL    FLAVORS,   SEA   SALT,
D2), Dl-Alpha-Tocopheryl Acetate (Vitamin        POTASSIUM CITRATE, SUNFLOWER


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 E), Riboflavin (Vitamin B2), Zinc Gluconate, LECITHIN, GELLAN GUM, VITAMIN A
 Cyanocobalamin (Vitamin B12).                PALMITATE, VITAMIN D2, D-ALPHA-
                                              TOCOPHEROL (NATURAL VITAMIN E).

        73.     The competitor product lists “Organic Vanilla Flavor” on its ingredient list as

opposed to “Natural Vanilla Flavor With Other Natural Flavor.”


     B. Misleading to Have Identical or Similar Product Names Where Significant Differences in
        Product Quality or Composition

        74.     Product names are established through application of the relevant regulations.

        75.     Products are required to be identified and labeled in a way consistent with other

products of similar composition.

        76.     This framework assures consumers will not be misled by the quality and components

of similarly labeled products where one product contains a greater amount, type and/or proportion

of a characterizing and valuable ingredient.23

        77.     Where two products are identified by the same descriptive terms and noun such as

“Vanilla Almondmilk,” consumers will be deceived into purchasing the product which contains

less of the valuable ingredients under the false impression that it contains the equivalent amount

of said ingredients or components.

        78.     Defendant’s Product is misleading because it is represented as identical to another

product which contains more, and a greater percentage, of the valuable ingredients, which causes

consumers to be misled.


VII.    Conclusion



23
  See 21 C.F.R. § 135.110(f) and 21 C.F.R. § 102.5(a) (“General principles.”) (“General principles.”) (“The name
shall be uniform among all identical or similar products and may not be confusingly similar to the name of any other
food that is not reasonably encompassed within the same name. Each class or subclass of food shall be given its own
common or usual name that states, in clear terms, what it is in a way that distinguishes it from different foods.”).


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       79.   The proportion of the characterizing component, vanilla, has a material bearing on

price or consumer acceptance of the Product because it is more expensive and desired.

       80.   The representations are misleading because the Product does not contain the amount,

type and/or percentage of vanilla as a component of its flavoring, which is required by law and

consistent with consumer expectations.

       81.   Had plaintiff and class members known the truth, they would not have bought the

Product or would have paid less for it.

       82.   The Product contains other representations which are misleading and deceptive.

       83.   As a result of the false and misleading labeling, the Product is sold at a premium

price of approximately $4.49 per 64 FL OZ, excluding tax – compared to other similar products

represented in a non-misleading way.

                                      Jurisdiction and Venue


       84.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

of 2005 or “CAFA”).

       85.   Under CAFA, district courts have “original federal jurisdiction over class actions

involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

       86.   Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

       87.   This is a reasonable assumption because the Products are sold in defendant’s 132

stores across numerous states and have been sold in similar or identical manner for several years.

       88.   Plaintiff Constance Fore-Heron is a citizen of New York.

       89.   Defendant The Price Chopper, Inc. is a New York corporation with a principal place



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of business in Schenectady, Schenectady County, New York.

        90.   Defendant is a citizen of New York because it is incorporated in New York and has

its principal place of business in New York. Andrews v. Citimortgage, Inc., No. 14-cv-1534

(JS)(AKT) (E.D.N.Y. Mar. 31, 2015) (“[a] corporation has dual citizenship for purposes of a

federal court's diversity jurisdiction under 28 U.S.C. § 1332; namely, it is a citizen of the state of

its incorporation and of the state where it has its principal place of business.").

        91.   “Minimal diversity” exists because even though the parties are both citizens of this

state, plaintiff seeks to represent persons in all states who purchased the Products. Gonzales v.

Agway Energy Services, LLC, No. 18-cv-235 (N.D.N.Y. Oct. 22, 2018) (“At this time, the

allegation that some class member maintains diversity with Defendant is sufficient to establish

minimal diversity under CAFA” and citing 28 U.S.C. § 1332(d)(1)(D) “’the term ‘class members’

means the persons (named or unnamed) who fall within the definition of the proposed or certified

class in a class action.”).

        92.   Defendant’s stores are located in New York, Connecticut, Massachusetts, Vermont,

New Hampshire, Pennsylvania and Rhode Island.

        93.   Certain exceptions preclude diversity jurisdiction. 28 U.S.C. § 1332(d)(4).

        94.   The “local controversy” exception does not apply because less than two-thirds of the

putative class members are citizens of New York.

        95.   Under the "local controversy" exception, a district court must decline jurisdiction if

"(1) more than two-thirds of the putative class members are citizens of the state in which the action

was originally filed; (2) there is at least one defendant from whom `significant relief' is sought by

the class members, whose alleged conduct forms a `significant basis' for the asserted claims, and

who is a citizen of the state in which the action was originally filed; (3) the principal injuries




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suffered by the class were incurred in the state in which the action was originally filed; and (4) no

other class action asserting the same or similar factual allegations has been filed against any of the

defendants within the past three years." Green v. Sweetworks Confections, LLC, No. 18-cv-902

S.D.N.Y. Aug. 21, 2019) quoting 28 U.S.C. § 1332(d)(4)(A).

          96.   At bar, the “local controversy” exception is not satisfied because less than two-thirds

of proposed class members are citizens of New York.

          97.   This fact can plausibly be alleged because defendant has no fewer than 132 stores in

New York, Connecticut, Massachusetts, Vermont, New Hampshire, Pennsylvania and Rhode

Island.

          98.   Thirty (30) of defendant’s stores are located in New York and the other ninety-two

(92) are in states other than New York.

          99.   For more than two-thirds of class members to be citizens of New York, defendant’s

would need to get two-thirds (66.6%) of its customers from New York, even though its stores in

New York comprise less than 25% of its total stores.

          100. Additionally, the entire Upstate region of New York contains 8.5 million people.

          101. The states where it has the majority of its stores are also more densely populated than

Upstate New York.

          102. For the local controversy exception to apply, defendant would need to receive more

than two-thirds of its customers from a state that contains less than 25% of its stores and is home

to a customer base that is no greater than 25% of all possible customers across the other states.

          103. Under the “home state controversy” exception to CAFA, a district court "shall

decline to exercise jurisdiction" if "two-thirds or more of the members of all proposed plaintiff

classes in the aggregate, and the primary defendants, are citizens of the State in which the action




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was originally filed." 28 U.S.C. § 1332(d)(4)(B).

        104. For the same reasons that the local controversy exception does not apply, the home

state controversy does not apply.

        105. This is because less than two-thirds of the members of all proposed plaintiff classes

are citizens of New York. 28 U.S.C. § 1332(d)(4)(B).

        106. This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.

        107. Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        108. A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                 Parties

        109. Plaintiff Constance Fore-Heron is a citizen of Sullivan County, New York.

        110. Defendant The Price Chopper, Inc. is a New York corporation with a principal place

of business in Schenectady, Schenectady County, New York.

        111. During the class period, plaintiff purchased one or more of the Product identified

herein, in his or her district and/or state, for personal use, consumption or application based on the

above representations, for no less than the price indicated, supra, excluding tax,

        112. Plaintiff would consider purchasing the Product again if there were assurances that

the Product’s representations were no longer misleading.

                                         Class Allegations


        113. The classes will consist of all consumers in New York and the other 49 states and a

nationwide class where applicable.



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       114. Common questions of law or fact predominate and include whether the

representations were likely to deceive reasonable consumers and if plaintiff and class members are

entitled to damages.

       115. Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same representations.

       116. Plaintiff is an adequate representative because his or her interests do not conflict with

other members.

       117. No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       118. Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest.

       119. Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       120. Plaintiff seeks class-wide injunctive relief because the practices continue.

                          New York General Business Law (“GBL”) §§ 349 & 350

       121. Plaintiff asserts causes of action under the consumer protection statutes of New York,

General Business Law (“GBL”) §§ 349 & 350.

       122. Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       123. Plaintiff and class members desired to purchase products which were as described

by defendant and expected by reasonable consumers, given the product type.

       124. Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       125. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair


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because it gives the impression to consumers the Products contain sufficient amounts of the

highlighted ingredient, vanilla, to characterize the taste or flavor of the Products and only contain

said ingredient to flavor the Product.

            Breaches of Express Warranty, Implied Warranty of Merchantability and
                  Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       126. Plaintiff incorporates by reference all preceding paragraphs.

       127. Defendant manufactures and sells products which purport to contain sufficient

amounts of the highlighted ingredient, vanilla, to characterize the taste or flavor of the Products

and only contained the highlighted ingredient to flavor the Product, which is desired by consumers.

       128. The Product warranted to Plaintiff and class members that it possessed substantive,

functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and other

attributes which it did not due to the amount and/or type of the aforementioned ingredient.

       129. Defendant had a duty to disclose and/or provide a non-deceptive description and

identification of the Product and its ingredients.

       130. This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

       131. Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

       132. The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable.

       133. Plaintiff and class members relied on defendant’s claims, paying more than they

would have.

                                               Fraud


       134. Plaintiff incorporates by references all preceding paragraphs.


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       135. Defendant’s purpose was to sell a product which purported to contain valuable and

desired characterizing ingredients and/or flavors, and represent the Products were exclusively

flavored by the designated ingredients and contained sufficient independent amounts of same.

       136. Defendant’s fraudulent intent is evinced by its failure to accurately indicate the

Products contained less of the desired ingredient or none at all.

       137. Plaintiff and class members observed and relied on defendant’s claims, causing them

to pay more than they would have, entitling them to damages.

                                            Unjust Enrichment

       138. Plaintiff incorporates by reference all preceding paragraphs.

       139. Defendant obtained benefits and monies because the Product were not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                   Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

       as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove and/or refrain from the challenged representations, restitution

       and disgorgement for members of the State Subclasses pursuant to the consumer protection

       laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

       to the common law and consumer protection law claims, and other statutory claims;


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   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: December 6, 2019
                                                              Respectfully submitted,

                                                              Sheehan & Associates, P.C.
                                                              /s/Spencer Sheehan
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                                                              S.D.N.Y. # SS-2056




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7:19-cv-11224
United States District Court
Southern District of New York

Constance Fore-Heron, individually and on behalf of all others similarly situated,


                                        Plaintiff,


        - against -


The Price Chopper, Inc.,
                                         Defendant




                                  Class Action Complaint




                           Sheehan & Associates, P.C.
                            505 Northern Blvd., #311
                              Great Neck, NY 11021
                               Tel: (516) 303-0552
                               Fax: (516) 234-7800




Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: December 6, 2019
                                                                        /s/ Spencer Sheehan
                                                                         Spencer Sheehan
